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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH,INC.,

                              Plaintiff,
                                                           Civil Action No. l:17-cv-l 1008-MLW



CELLTRION HEALTHCARE CO., LTD.,
CELLTRION,INC., and
HOSPIRA,INC.,

                              Defendants.




        ASSENTED-TO DEFENDANTS'MOTION FOR LEAVE TO IMPOUND
             CONFIDENTIAL PORTIONS OF JOINT REPORT AND
                               EXHIBITS TO JOINT REPORT


       Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order(Dkt 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et al No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively "Defendants"),

hereby move this Court for an Order to impound or otherwise seal the following documents, on

the groimd these documents contain or reveal Plaintiffs, Defendants', or third parties'
confidential and proprietary information:

   • Joint Report(filed as C.A. No. 17-11008 Dkt. 33);^
   • Exhibit 2 to the Joint Report,Plaintiffs Interrogatories to Defendants(filed as C.A. No.
       17-11008 Dkt. 33-2);

   • Exhibit 3 to the Joint Report, Plaintiffs Requests for Production ofDocuments to
     Defendants (filed as C.A. No. 17-11008 Dkt. 33-3);


       The Joint Report contains redactions from both Plaintiff and Defendants. With regard to
       Plaintiffs redactions, Plaintiffjoins in this Motion. In all other regards, Plaintiff assents
       to this Motion.




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